                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN
                                    GREEN BAY DIVISION


SUSAN LEMKE,                                                           Case No. 19-cv-149

                 Plaintiff,

vs.

OCWEN LOAN SERVICING, LLC,

                Defendant.



                                          COMPLAINT



       NOW COMES Plaintiff Susan Lemke, by and through her attorney, Nathan

DeLadurantey of DeLadurantey Law Office, LLC and complains of Defendant Ocwen Loan

Servicing, LLC, and alleges to the best of her knowledge, information and belief formed after an

inquiry reasonable under the circumstances, the following:

                                        INTRODUCTION

                                        Nature of the Action

       1.      This lawsuit arises from the illegal collection attempts of Defendant.

       2.      Causes of Action herein are brought under the Fair Debt Collection Practices Act,

15 U.S.C. § 1692 et seq. (“FDCPA”) and the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. §227 et seq.

                                       Jurisdiction and Venue

       3.      Jurisdiction of this Court arises under 28 U.S.C. § 1331, because the case arises

under the laws of the United States.




            Case 1:19-cv-00149-WCG Filed 01/28/19 Page 1 of 8 Document 1
       4.      This Court also has jurisdiction under 15 U.S.C. § 1692 as it is an action to

enforce liability created by the FDCPA within one year from the date on which the violation

occurred.

       5.      Venue in this Court is appropriate pursuant to 28 U.S.C. § 1391(b)(2), because

this is where the acts giving rise to the claim occurred.

       6.      Under 28 U.S.C. § 1391(c), a defendant corporation shall be deemed to reside in

any judicial district in which it is subject to personal jurisdiction. Defendant is subject to

personal jurisdiction in Wisconsin, since they do business in Wisconsin.

                                               Parties

       7.      Plaintiff Susan Lemke (hereinafter “Ms. Lemke”) is a natural person who resides

in the County of Brown, State of Wisconsin.

       8.      Ms. Lemke is a “consumer” as defined by 15 U.S.C. §1962a(3).

       9.      Defendant Ocwen Loan Servicing, LLC (“Defendant Ocwen”) is a company with

a principal office address at 1661 Worthington Rd., Suite 100, West Palm Beach, FL 33409, and

a registered agent office address at Corporation Service Company, 8040 Excelsior Drive, Suite

400, Madison, WI 53717.

       10.     Defendant Ocwen is a “debt collector” pursuant to 15 U.S.C. § 1692a(6).

                                         BACKGROUND

       11.     On March 5, 2013 Ms. Lemke filed for relief under Chapter 13 of the Bankruptcy

Code (E.D. Wisconsin Case No. 13-22483).

       12.     Ms. Lemke disclosed that she owned a property subject to a first and second

mortgage.




                                         2
            Case 1:19-cv-00149-WCG Filed 01/28/19 Page 2 of 8 Document 1
        13.    At the time of filing, she listed a non-party (RBS Citizens) as being owed a debt

related to a second residential home mortgage.

        14.    Defendant was servicing that mortgage for the non-party, and received actual

notice of the bankruptcy.

        15.    The mortgage that Defendant was collecting upon for the non-party was in default

at the time that Defendant filed Chapter 13 bankruptcy.

        16.    The Plaintiff proposed to surrender the property in question back to the

mortgagees as part of her original Chapter 13 plan, and that Plan was confirmed by the

Bankruptcy Court in 2013.

        17.    The mortgage that Defendant was collecting upon for the non-party reached full

maturity during the Chapter 13 bankruptcy, and was fully due and owing in 2015.

        18.    In 2017, the underlying (or first) mortgagee on the property obtained relief from

the automatic stay in the Ms. Lemke’s bankruptcy and proceeded to successfully complete a

foreclosure action. This occurred during the pendency of the bankruptcy, and with the full

permission of the bankruptcy court.

        19.    Defendant received actual notice (and was in fact listed as a party) to the

foreclosure action.

        20.    Neither Defendant, nor the non-party (RBS Citizens) appeared at or contested the

foreclosure.

        21.    Plaintiff’s bankruptcy was successfully completed and discharged on April 30,

2018.

        22.    Defendant received actual notice of Plaintiff’s bankruptcy discharge.




                                       3
          Case 1:19-cv-00149-WCG Filed 01/28/19 Page 3 of 8 Document 1
        23.      Since that time, Defendant has engaged in repeated collection attempts directed at

Plaintiff.

        24.      The attempts have included repeated collection phone calls directed at Plaintiff,

specifically to her cellular phone.

        25.      If Defendant had any consent to call her cellular phone, that consent was revoked

by the filing of bankruptcy and the later discharge order.

        26.      Defendant Ocwen has repeatedly and persistently attempted to collect balances

from Ms. Lemke that were discharged in bankruptcy.

        27.      Defendant is prohibited under the Bankruptcy Code from engaging in these

collection attempts.

        28.      Plaintiff even had her lawyers send a “cease and desist” letter to Defendant. This

letter did not deter Defendant, and the illegal collection attempts have continued unabated.

             Count 1 – Violations of the Fair Debt Collection Practices Act, (15 U.S.C. §1692)

        29.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

        30.      Plaintiff is a consumer as defined by 15 U.S.C. §1692a(3).

        31.      The foregoing acts of the Defendant Ocwen and its agents constitute numerous

and multiple violations of the FDCPA including, but not limited to, 15 U.S.C. §§ 1692e,

1692e(2), 1692e(10), 1692e(14), 1692f, and 1692f(1), with respect to the Plaintiff.

        32.      Specifically, under 15 U.S.C. § 1692e(2), a debt collector cannot make a false

representation about the amount of debt owed, which they did when they tried to collect on an

account that was discharged in a bankruptcy.




                                          4
             Case 1:19-cv-00149-WCG Filed 01/28/19 Page 4 of 8 Document 1
       33.     Under 15 U.S.C. § 1692e(10), a debt collector cannot use false representation or

deceptive means to collect, which they did when they tried to collect on an account that was

discharged in a bankruptcy.

       34.     Under 15 U.S.C. § 1692f(1), a debt collector cannot collect an amount which it is

not authorized to collect, which Defendant did when they tried to collect on an account that was

discharged in a bankruptcy.

       35.     Plaintiff is in her late sixties and suffers from a heart condition and the

Defendant’s actions have at times exacerbated her condition. She has suffered actual damages as

a result of Defendant’s illegal collection communications in the form of anger, anxiety,

emotional distress, humiliation, frustration, and other negative emotions.

       36.     Plaintiff is entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).


                       Count 2 – Violation of the Telephone Consumer Protection
                                      Act (14 U.S.C. § 227 et seq.)

       37.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       38.     Within the four-year period immediately preceding this action, the Defendant

Ocwen made numerous calls to the Plaintiff’s cellular telephone service using an automatic

telephone dialing system in violation of the TCPA, 47 U.S.C. § 227(b)(1)(A)(iii), and 47 C.F.R.

64.1200 (a)(1)(iii).




                                       5
          Case 1:19-cv-00149-WCG Filed 01/28/19 Page 5 of 8 Document 1
       39.     The acts and or omissions of Defendant Ocwen at all times material and relevant

hereto, as described in this complaint, were done unfairly, unlawfully, intentionally, deceptively,

and absent bona fide error, lawful right, legal defense, legal justification or legal excuse.

       40.     As a causally-direct and legally proximate results of the above violations of the

TCPA and the C.F.R., Defendant Ocwen at all times material and relevant hereto, as described in

this Complaint, cause Plaintiff to sustain damages.

       41.     Defendant Ocwen did not have the prior express consent of Plaintiff to use an

automatic telephone dialing system to call the Plaintiff’s cellular telephone.

       42.     Alternatively, if Defendant Ocwen had consent to call Plaintiff’s cellular

telephone, the calls continued after Plaintiff revoked that consent.

       43.     Under 47 U.S.C. § 227(b)(3)(B), the Plaintiff is entitled to statutory damages

under the TCPA of $500.00 per telephone call made to Plaintiff.

       44.     Defendant Ocwen willfully and knowingly violated the TCPA, and as such the

Plaintiff is entitled to $1,500.00 per telephone call made to the Plaintiff pursuant to 47 U.S.C. §

227(b)(3).

       45.     Plaintiff is entitled to injunctive relief prohibiting Defendant Ocwen from

contacting the Plaintiff on her cellular telephone using an automated dialing system pursuant to

47 U.S.C. § 227(b)(3)(a)

                                            Trial by Jury

Plaintiff is entitled to, and hereby respectfully demands a trial by jury on all issues so triable.

       WHEREFORE, Ms. Lemke prays that this Court will enter judgment against Defendant
Ocwen as follows:
       A. Actual damages in an amount to be determined at trial pursuant to 15 U.S.C. §
          1692k(a)(1);
       B. Statutory damages of $1,000 pursuant to 15 U.S.C. § 1692k(a)(2)(A);


                                       6
          Case 1:19-cv-00149-WCG Filed 01/28/19 Page 6 of 8 Document 1
C. Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1692k(a)(3);
D. for an award of statutory damages of $500.00 per call pursuant to 47 U.S.C. §
   227(b)(3)(B) against Defendant and for Plaintiff;
E. for an award of treble damages of $1,500.00 per call pursuant to 47 U.S.C. §
   227(b)(3) against Defendant and for Plaintiff;
F. for an injunction prohibiting Defendant Ocwen from contacting the Plaintiff on her
   cellular telephone using an automated dialing system pursuant to 47 U.S.C. §
   227(b)(3)(a).

G. For such other and further relief as may be just and proper.


Dated this 28th day of January, 2019.


                                        s/ Nathan E. DeLadurantey
                                        Nathan E. DeLadurantey, 1063937
                                        DELADURANTEY LAW OFFICE, LLC
                                        330 S. Executive Drive, Suite 109
                                        Brookfield, WI 53005
                                        (414) 377-0515; (414) 755-0860 - Fax
                                        E: nathan@dela-law.com
                                        Attorneys for the Plaintiff




                               7
  Case 1:19-cv-00149-WCG Filed 01/28/19 Page 7 of 8 Document 1
Case 1:19-cv-00149-WCG Filed 01/28/19 Page 8 of 8 Document 1
